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                       Exhibit A
                        Joint Claim
                                  Case:21-80053-jwb
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                                                        Claim
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  Fill in this information to identify the case:

  Debtor 1              CLUCHEY, LARRY ALLEN
                        __________________________________________________________________


  Debtor 2               Sherry  D. Cluchey (non-filing spouse)
                         ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Western District    of __________
                                                           of Michigan
                                                     District

  Case number            21-00524 jwb
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     04/16

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      World  Energy Innovations, LLC, f/d/b/a Worthington Energy Innovations, LLC
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor    Worthington   Energy Innovations, LLC
                                                                                        ________________________________________________________________________

2. Has this claim been
   acquired from
                                      "   No
   someone else?                      "   Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Ice Miller LLP, ATTN: Tyson A. Crist, Esq.
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     250 West Street, Suite 700
                                      ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street

                                      Columbus                   OH           43215
                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code


                                      Contact phone    614-462-2243
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email     tyson.crist@icemiller.com
                                                        ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              "   No
   one already filed?
                                      "   Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              "   No
   else has filed a proof             "   Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        " No
   you use to identify the       " Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                             73,617.43* Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            "    No
                                                                            "    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).
                                    *Plus additional, presently unknown joint claim amounts to be determined.
8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 SEE: Addendum attached. NOTE: This is only a "Joint Claim."
                                 ______________________________________________________________________________



9. Is all or part of the claim   " No
   secured?                      " Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                           "   Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                           "   Motor vehicle
                                           "   Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                           "   Fixed
                                           "   Variable



10. Is this claim based on a     " No
    lease?
                                 " Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   " No
    right of setoff?
                                 " Yes. Identify the property: ___________________________________________________________________




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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MICHIGAN

In re:                                 )                    Chapter 7
                                       )
LARRY ALLEN CLUCHEY,                   )                    Case No. 21-00524-jwb
                                       )
                  Debtor.              )                    Hon. James W. Boyd
_______________________________________)

                              ADDENDUM TO JOINT CLAIM

         Now comes Creditor, World Energy Innovations, LLC, formerly doing business as

Worthington Energy Innovations, LLC (“WEI”) and hereby submits its Joint Proof of Claim

(“Joint Claim”) in the Chapter 7 bankruptcy case of Larry Allen Cluchey (the “Debtor” or “Mr.

Cluchey”). On April 27, 2021, Chapter 7 Trustee, Marcia R. Meoli (the “Trustee”) filed a Joint

Claims Notice (Dkt. No. 23), which directed that any “joint claim” (joint debt) owed by the Debtor

and his spouse, Sherry D. Cluchey (“Mrs. Cluchey”) be filed within 45 days, and to mark any such

claim “joint claim”.

         Contemporaneous with filing this Joint Claim, on May 14, 2021, WEI filed its Complaint

For Money Judgment, to Avoid and Recover Voidable Transactions and Determine Joint Debt,

and to Determine Dischargeability of Debt (the “Complaint”), which initiated Adversary

Proceeding No. 21-80053-jwb (the “Adversary Proceeding”). A copy of the Complaint and the

Exhibits thereto are attached as Exhibit A to this Joint Claim and are expressly incorporated by

reference. Through the Adversary Proceeding, WEI seeks to, among other things, liquidate the

amount of the joint claims, obtain a determination of the joint debt, and obtain a money judgment

for the joint claims that it holds against Mr. Cluchey and Mrs. Cluchey.

         WEI is a creditor of, and holds a Final Judgment against, American Research Products,

Inc. (“ARP”). The Final ARP Judgment (as defined in the Complaint) was entered in the District

Court Action (also as defined in the Complaint) on April 22, 2021, solely against ARP for the


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amount of $1,938,150.27, and is attached to the Complaint. As described in Counts IV, V, VI, and

VII of the Complaint, Mr. Cluchey caused his wholly owned alter ego business entity, ARP, to

transfer assets from ARP to or for the benefit of himself and Mrs. Cluchey, which are voidable and

recoverable under the Michigan Uniform Voidable Transactions Act (the “UVTA”).

        WEI has identified the following transfers of ARP’s assets made to or for the benefit of

both Mr. Cluchey and Mrs. Cluchey that may be, upon information and belief, avoidable under the

UVTA and jointly recoverable from Mr. Cluchey and Mrs. Cluchey, as the insiders of ARP for

whose benefit the transfers were made, as more fully set forth in the Complaint which is

incorporated by reference in this Joint Claim:

        -   Transfers totaling $73,617.43, which are comprised of $1,809.76 in minimum (i.e.,
            interest) payments on, and a $71,807.67 payoff of, Mr. Cluchey and Mrs. Cluchey’s
            second home equity line of credit with Comerica Bank, account number xxxxxxx1128,
            which was secured by a Home Equity Mortgage (Line) to Comerica Bank against Mr.
            Cluchey’s and Mrs. Cluchey’s interests in their current residence, 7095 Mindew Drive
            SW, Byron Center, Michigan 49315 (Kent County), Parcel Number 41-21-10-281-021,
            which was recorded with the Kent County, Michigan Register of Deeds Office on
            August 15, 2019, as Document Number 201908150060734 and has since been
            cancelled and discharged as paid in full through a Discharge of Mortgages dated and
            recorded with the Kent County, Michigan Register of Deeds Office on September 6,
            2019 as Document Number 201909060067483. These transfers benefitted both Mr.
            and Mrs. Cluchey by eliminating their personal liability on the Second HELOC (as
            defined in the Complaint) and by increasing their equity in their residence, which Mr.
            Cluchey has sought to exempt in his chapter 7 bankruptcy pursuant to Mich. Comp.
            Laws § 600.5451(1)(n).

        -   Transfers, in an amount to be determined, from ARP to American Express for the
            benefit of Mr. Cluchey and/or Mrs. Cluchey on account of the American Express
            Business Gold Rewards credit card in ARP’s name, account ending x-x1009 (the “ARP
            AmEx”), and/or the American Express Gold Delta SkyMiles credit card in Mr.
            Cluchey’s name, account ending x-x1001 (the “Cluchey AmEx”), each of which Mr.
            Cluchey used to pay personal expenses, including upon information and belief, certain
            of the personal, family, and household expenses of Mr. Cluchey and/or Mrs. Cluchey.

        In addition, as to both Mr. and Mrs. Cluchey, WEI seeks to recover, through the Complaint,

all pre- and post-judgment interest at the maximum rate to which WEI is entitled under law.


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        This Joint Claim is made without prejudice to, and WEI expressly reserves, all other rights,

claims, demands, and remedies available to WEI, at law or in equity. For the avoidance of doubt,

the stated amount of this Joint Claim, as set forth in Part 2, Item 7, only includes amounts owed

jointly by Mr. Cluchey and Mrs. Cluchey, and does not include amounts owed solely by Mr.

Cluchey. The Trustee has not yet issued a notice of assets and possible dividend under Fed. R.

Bankr. P. 3002(c)(5), such that there presently is no deadline to file proofs of claim; moreover, the

Notice of Chapter 7 Bankruptcy Case – No Proof of Claim Deadline (Dkt. No. 2) issued on March

2, 2021 instructed creditors to not file a proof of claim. Accordingly, the amount of this Joint

Claim does not encompass claims that WEI may be able to and has asserted against Mr. Cluchey

in the Complaint, and WEI expressly reserves the right to file a proof of claim for any other

amounts Mr. Cluchey owes to WEI that are not described in this Joint Claim. The attached

Complaint and the attachments thereto attached as Exhibit A to this Joint Claim, however, do also

set forth the claims presently asserted against Mr. Cluchey, by which WEI is seeking to hold him

personally liable for the debt of ARP to WEI in the amount of $1,938,150.27, plus further damages

that continue to accrue as WEI works to complete the Project (as defined in the Complaint), plus

exemplary damages, including reasonable attorney’s fees, on Counts I, II, and III. WEI expressly

reserves the right to file a proof of claim for the amounts owed solely by Mr. Cluchey by the

applicable deadline once set under Fed. R. Bankr. P. 3002(c)(5).

        WEI is continuing to investigate its claims against Mr. Cluchey and Mrs. Cluchey and WEI

expressly reserves the right to amend and supplement this Joint Claim in any and all respects,

whether to assert any and all additional amounts found to be jointly owing by Mr. Cluchey and

Mrs. Cluchey to WEI or otherwise. Moreover, WEI expressly reserves the right to object to the

exemptions asserted by Mr. Cluchey in his chapter 7 bankruptcy case.


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        The execution and filings of this Joint Claim does not constitute a waiver of any rights of

WEI, including, without limitation, (i) the right to move to withdraw the reference, (ii) any right

to trial by jury or any right to the adjudication of matters by an Article III or state court, and (iii)

the right to amend and supplement this Joint Claim as WEI deems necessary.




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